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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 HONG KONG LEYUZHEN TECHNOLOGY
 CO. LIMITED,                                        Case No. 1:24-cv-01547

                        Plaintiff,
                                                     Honorable Judge Andrea R. Wood
        v.
                                                     Magistrate Jeffrey Cole
 THE INDIVIDUALS, CORPORATIONS,
 LIMITED LIABILITY COMPANIES,                        FIRST AMENDED MOTION FOR
 PARTNERSHIPS AND                                    TEMORARY RESTRAINING ORDER
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE “A” HERETO,

                Defendants.

    PLAINTIFF’S FIRST AMENDED EX PARTE MOTION FOR ENTRY OF A
TEMPORARY RESTRAINING ORDER, INCLUDING A TEMPORARY INJUNCTION,
A TEMPORARY ASSET RESTRAINT, EXPEDITED DISCOVERY, AND SERVICE OF
        PROCESS BY E-MAIL AND/OR ELECTRONIC PUBLICATION

       Plaintiff Hong Kong Leyuzhen Technology CO. Limited, (“Plaintiff”), by and through its
counsel, the Bayramoglu Law Offices, LLC, submits this Memorandum in support of its Ex Parte
Motion for Entry of a Temporary Restraining Order, including a temporary injunction, a temporary
asset restraint, expedited discovery, and service of process by e-mail and/or electronic publication
(the “Ex Parte Motion”). The Ex Parte Motion is made and based upon the arguments presented
herein, the supporting Declaration of Shawn A. Mangano, Esq. (the “Mangano Decl.”), together
with any argument or other materials considered by the Court.




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                                            INTRODUCTION

       Plaintiff brings this action against the Defendants identified on Schedule A to the

Complaint (“Defendants”) for copyright infringement (Count I), false designation of origin (Count

II), and violation of the Illinois Uniform Deceptive Trade Practices Act (Count III). As alleged in

the Complaint, Defendants are unlawfully using Plaintiff’s federally registered copyrighted

photographs and 3-D artwork (the “Asserted Brand Copyrights”) to promote, advertise, market,

distribute, offer for sale, and sell knockoff products using the brand associated with the Asserted

Brand Copyrights (the “Asserted Brand”) through the online marketplace accounts maintained on

the eBay platform listed in Schedule “A” (the “Online Platform”) to the Complaint (“Defendants’

Online Stores”). In short, Defendants run a knockoff Asserted Brand sales operation that is predicated

on the unauthorized use of the Asserted Brand Copyrights.

       Defendants create numerous stores on the Online Platform, including those identified in

Schedule “A” to the Complaint, with an intent to use Plaintiff’s Asserted Brand Copyrights to sell

their products. Defendants’ Online Stores share unique identifiers, including their common use of

the Asserted Brand Copyrights, and suggesting that Defendants’ knockoff operations are

somehow sanctioned by Plaintiff, when they are not. Defendants attempt to avoid liability by

concealing both their identities and the full scope and interworking of their operations. Plaintiff

has filed this action to combat Defendants’ infringement of the Asserted Brand Copyrights, as

well as to protect unknowing consumers from purchasing knockoff products of poor quality.

       This Court has personal jurisdiction over Defendants because each Defendant targets
Illinois residents and has offered to sell, and on information and belief, has sold and continues to

sell knockoff products to consumers within the United States, including the State of Illinois, by
using the Asserted Brand Copyrights without authorization to do so from Plaintiff. Specifically,

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Defendants are reaching out to do business with Illinois residents by operating one or more
commercial, interactive Internet-based stores through which Illinois residents can purchase
knockoff Asserted Brand products being sold using, without authorization, Plaintiff’s Asserted Brand
Copyrights. Defendants directly target unlawful business activities toward consumers in Illinois,
cause harm to Plaintiff’s business within this Judicial District, and have caused and will continue
to cause irreparable injury to Plaintiff’s Asserted Brand. Furthermore, Defendants deceive the
public by trading upon the reputation and goodwill of Plaintiff’s Asserted Brand by
misappropriating its copyrighted work for use in Defendants’ O n l i n e Stores to sell and/or
offer for sale inferior products at a fraction of the price.
       Defendants’ ongoing unlawful activities should be restrained, and Plaintiff respectfully
requests that this Court issue an ex parte Temporary Restraining Order (the “TRO”). Specifically,
Plaintiff seeks an order: (1) temporarily restraining Defendants’ continued misappropriation of

Plaintiff’s Asserted Brand Copyrights for the manufacture, importation, distribution, offering for
sale, and sale of Defendants’ knockoff products; (2) temporarily restraining Defendants’ assets to
preserve Plaintiff’s right to an equitable accounting; ancillary to and as part of the TRO, Plaintiff
respectfully requests that this Court (3) authorize expedited discovery allowing Plaintiff to inspect
and copy Defendants’ records relating to Defendants’ financial accounts; and (4) authorize
service by electronic mail and/or electronic publication.
       Given the covert nature of offshore knockoff and copyright infringing activities and the

vital need to establish an economic disincentive for such conduct, courts regularly issue such
orders. See, e.g., ZURU (Singapore) Pte., Ltd et al v. The Individuals, Corporations, Limited
Liability Companies, Partnerships and Unincorporated Associations Identified on Schedule A
Hereto, No.: 1-21-CV- 02180, Document # 14, (N.D. Ill. April 27, 2021) (granting orders
requested herein in a similar case involving plaintiff’s BUNCH O BALLOONS copyrighted
works and trademarks); Creative Impact Inc. et al v. The 475 Individuals, Corporations, Limited
Liability Companies, Partnerships, and Unincorporated Associations Identified on Schedule A

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Hereto, No.:1:19-cv-05907, Document # 17 (N.D. Ill. Sept. 10, 2019) (granting orders requested
herein in a similar case involving plaintiff’s BUNCH O BALLOONS trademark); Creative Impact
Inc. et al v. The Individuals, Corporations, Limited Liability Companies, Partnerships, and
Unincorporated Associations Identified on Schedule A Hereto, No. 1:18-cv-07531, Document
# 16 (N.D. Ill. Nov. 20, 2018) (Durkin, J.) (same); see also Chrome Hearts LLC v. Partnerships
& Unincorporated Associations Identified on Schedule "A", No. 1:15-CV-03491, 2015 WL
5307609 (N.D. Ill. Sept. 9, 2015) (denying defendant’s motion to intervene in same case as
above); In re Vuitton et Fils, S.A., 606 F.2d 1 (2d Cir. 1979) (holding that ex parte temporary
restraining orders are indispensable to the commencement of an action when they are the sole
method of preserving a state of affairs in which the court can provide effective final relief).
       Plaintiff’s well-pleaded factual allegations, which must be accepted as true, and evidence
submitted through declarations, establish that issuing a temporary restraining order against

Defendants is necessary and proper. First, Plaintiff’s Ex Parte Motion demonstrates the company
has a strong likelihood of success on the merits of its claims. Plaintiff is the owner of the federal
copyright registrations which are set forth in Exhibit 1 to and Complaint. Plaintiff is also the sole
distributor of genuine Asserted Brand products, and Defendants’ unauthorized use of the Asserted
Brand Copyrights to sell competing knockoff products is causing consumer confusion.
       In addition, Defendants have, and continue to, irreparably harm Plaintiff through diminished
goodwill and damage to the Asserted Brand’s reputation. Monetary damages are inadequate to

compensate Plaintiff for these damages. This makes injunctive relief particularly appropriate in this
matter and at this time.
       Issuance of an injunction is also in the public interest because it will prevent confusion
among the public and prevent unknowing consumers from being deceived into purchasing
inferior products through Defendants’ misappropriation of Plaintiff’s Asserted Brand Copyrights.
Moreover, under Federal Rule of Civil Procedure 65(d)(2)(C), this Court has the power to bind
any third parties, such as domain name registries and financial institutions, who are in active

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concert with Defendants or who aid and abet Defendants and are given actual notice of the order.
Similarly, a prejudgment asset freeze is also proper since Plaintiff seeks an equitable remedy in the
accounting of Defendants’ profits pursuant to 17 U.S.C. § 504. Finally, an order authorizing service
of process by e-mail and/or electronic publication is proper because of Defendants’ intentional
efforts to conceal their identities and operate their business online. Serving Defendants
electronically is the best method for notifying them of this action and providing them the
opportunity to defend and present their objections.

                                       STATEMENT OF FACTS

       Plaintiff’s Intellectual Property and Products

       Plaintiff is the registered owner of the copyrights listed in Exhibit 1 to the Complaint,

which comprise the Asserted Brand Copyrights. Since at least 2009, the Asserted Brand is, and

has been, the subject of substantial and continuous marketing and promotion by Plaintiff.

( Mangano Decl. ¶ 11.)

       Plaintiff has, and continues to, widely market and promote the Asserted Brand in the

industry and to consumers. ( Id.) Plaintiff has expended substantial time, money, and other

resources in advertising and otherwise promoting the Asserted Brand. (Id.) As a result, the

Asserted Brand is widely recognized and exclusively associated by consumers, the public, and

the trade as being high quality products sourced from Plaintiff. (Id.) Plaintiff owns all exclusive

rights for the Asserted Brand Copyrights listed in Exhibit 1 to the Complaint. (Id. ¶ 9.) However,

the success of the Asserted Brand has resulted in its significant counterfeiting. (Id. ¶ 12.)

       Defendants’ Unlawful Activities

       Plaintiff has identified the Defendants’ Online Stores in Schedule “A” attached to the

Complaint that use, without authorization, the Asserted Brand Copyrights to promote, offer for

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sale, and sell inferior quality products from foreign countries to consumers in the United States

and within this judicial district. (Mangano Decl. ¶ 12; Compl. Ex. 2.) Internet websites like

Defendants ’ Online Stores are estimated to receive tens of millions of visits per year and

cost legitimate businesses billions in lost revenue annually. (Mangano Decl. ¶ 4, Ex. 1.)

According to intellectual-property-rights seizures-statistics reports issued by Homeland Security,

the manufacturer’s suggested retail price (“MSRP”) of goods seized by the U.S. government

in fiscal year 2020 was over $1.3 billion. (Id. ¶ 5, Ex. 2.) Internet websites like Defendants’ Online

Stores are also estimated to contribute to tens of thousands of lost jobs for legitimate businesses

and broader economic damages such as lost tax revenue every year. (Id., Ex. 3.)

        Defendants Operate Misleadingly Legitimate-Looking Online Stores.

        Counterfeiters and those passing off knockoff goods in similar cases typically facilitate

sales by designing Internet stores that appear to be authorized online retailers, outlet stores, or

wholesalers to unknowing and unsuspecting consumers. (Mangano Decl. ¶ 15.) Internet stores,

such Defendants’ Online Stores, accept common forms of payment in United States currency

such a s credit cards, GooglePay, Apple Pay, and/or PayPal. (Id.) They also often include images

and design elements that make it very difficult for consumers to distinguish these illegitimate

sites from authorized websites. (Id.) In this case, Defendants’ Online Stores additionally

display numerous Asserted Brand Copyrights, without authorization to do so, for the purpose

of selling and offering for sale their knockoff products as genuine Asserted Brand products. (Id.)

To be crystal clear, Defendants have no right to display the Asserted Brand Copyrights for any

purpose whatsoever and are not, and have never been, authorized Asserted Brand retailers in any

capacity. (Id.)



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       Defendants Illegitimately Optimize the Defendant Internet Stores for Search Engines.


       Defendants in similar copyright infringement cases typically deceive unknowing consumers by

using the images and 3-D Artwork without authorization within the images, content, text, and/or

meta tags of their Internet stores advertising and/or selling competing products to attract

various search engines crawling the Internet looking for websites relevant to consumer

searches. ( Mangano Decl. ¶ 16.) Additionally, Defendants in similar cases typically use other

unauthorized search engine optimization (“SEO”) tactics and social media spamming so that

Defendants’ listings show up at or near the top of relevant search results and misdirect consumers

to their illegitimate websites. (Id.) Further, Defendants typically utilize similar illegitimate SEO

tactics to propel new domain names to the top of search results after others are shut down. (Id.) In

short, Defendants use these technological tactics and misappropriated intellectual property rights

to promote their illegitimate websites at the expense of unsuspecting consumers and legitimate

companies. (Id.)


       Defendants Use Fictitious Aliases and Common Tactics to Evade Shut Down.

       Defendants go to great lengths to conceal their identities and often use multiple fictitious

names and addresses to register and operate their massive network of Internet stores. (Mangano

Decl. ¶ 17.) For example, many of the names and physical addresses used to register the

Defendants’ Online Stores are incomplete, contain randomly typed letters, or fail to include cities

or states. (Id.) Other Defendant domain names use privacy services that conceal the owners’

identity and contact information. (Id.) Defendants also regularly create new websites and online

marketplace accounts on various platforms using the identities listed in Schedule “ A”, as

well as other unknown fictitious names and addresses. (Id.; Compl. Ex. 2.) Such Internet store

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registration patterns are one of the many common tactics used by the wrongdoers, such as the

Defendants, to conceal their identities, the full scope and interworking of their massive

counterfeiting operations, and to evade enforcement efforts. (Mangano Decl. ¶ 17.)

       Even though Defendants operate under multiple fictitious names, there are numerous

similarities among Defendants’ Online Stores. (Id.) For example, Defendants’ websites use,

without authorization, the Asserted Brand Copyrights in similar or substantially similar ways to

sell knockoff products of inferior quality at the same or similar pricing as offered by Plaintiff for

its original and authentic goods. (Mangano Decl. ¶ 18.) Knockoff Asserted Brand products for sale

in Defendants’ Online Stores bear similar irregularities and indicia of being related to one another,

suggesting that the Defendants’ lesser quality products were manufactured by and come from a

common source and that, upon information and belief, Defendants are interrelated. (Id.)

Defendants’ online stores in similar cases, also include other notable common features,

including use of the same domain name registration patterns, unique shopping cart platforms,

accepted payment methods, check-out methods, meta data, illegitimate SEO tactics, user-

defined variables, domain redirection, lack of contact information, identically or similarly priced

hosting services, similar name servers, and the use of the same text and images. (Id.) In this case,

those similar images are the federally protected and infringed Asserted Brand Copyrights.

       Defendants Use Common Tactics to Evade Enforcement.

       In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online counterfeiters and knockoff purveyors, use a variety

of other common tactics to evade enforcement efforts. (Mangano Decl. ¶ 19.) For example,

Defendant counterfeiters and knockoff sellers will often register new domain names or

online marketplace accounts under new aliases once they receive notice of a lawsuit. ( Id.)

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Counterfeiters and knockoff sellers also typically ship products in small quantities via international

mail to minimize detection by U.S. Customs and Border Protection. (Id.) Additionally,

counterfeiters and knockoff sellers typically operate multiple credit card merchant accounts, such

as PayPal, hidden behind layers of payment gateways so that they can continue operation despite

rigorous enforcement efforts. (Id. ¶ 20.) Furthermore, Defendants typically thwart enforcement

efforts by maintaining offshore bank accounts and regularly moving funds from their third-party

platform seller accounts to these offshore accounts because they are outside the jurisdiction of this

Court. (Id.)

       Moreover, Plaintiff suspects that given the nature of the counterfeit products being sold, which

are promoted using an extensive array of the company’s copyright protected images throughout a

network of thousands of alleged infringers, that this is a highly sophisticated and coordinated

counterfeit operation whereby all online platform stores are provided with illegal, substandard,

knockoff products produced from one or more central textile manufacturing facilities. In short, the

named Schedule “A” Defendants lack the resources, ability, and capacity to manufacture the degree of

counterfeit products being distributed through their associated online sales platforms without the

support of a larger, criminal organization/network. (Mangano Decl. ¶ 21.)

       Overall, Plaintiff’s evidence presented with this Ex Parte Motion establishes registration

patterns, similarities among the Defendants’ Online Stores, Defendants’ shared infringement of the

Asserted Brand Copyrights, and the common tactics employed to evade enforcement establish

a logical relationship among the Defendants and suggest that they are an interrelated group

of knockoff sellers. Upon information and belief, Defendants are working in active concert to

knowingly and willfully misappropriate Plaintiff’s Asserted Brand Copyrights to, at least,

distribute, offer for sale, and sell products in connection with Defendants’ knockoff versions of


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Asserted Brand products in the same transaction, occurrence, or series of transactions or

occurrences. As indicated above, the tactics used by Defendants to conceal their identities and

the full scope of their knockoff operations make it virtually impossible for Plaintiff to discover

the true identities of the Defendants, the exact interworking of the Defendants’ knockoff

peddling network, including the interrelationship among the Defendants.

       ARGUMENT

       Defendants’ purposeful, intentional, and unauthorized use of Plaintiff’s Asserted Brand

Copyrights is causing, and will continue to cause, irreparable harm to Asserted Brand’s reputation

and associated goodwill. (Mangano Decl. ¶ 22.) To stop Defendants’ willful infringement of the

Asserted Brand Copyrights, Plaintiff respectfully requests that this Court issue a temporary

restraining order ordering, among other things, the freezing of Defendants’ assets. Without the

relief requested by Plaintiff’s Ex Parte Motion, Defendants’ unlawful activity will continue

unabated, and the company and consumers will suffer irreparable harm.

       Rule 65(b) of the Federal Rules of Civil Procedure (“Rule 65(b)”) authorizes the Court

to issue an ex parte temporary restraining order where immediate and irreparable injury, loss, or

damage will result to the applicant before the adverse party or that party’s attorney can be heard in

opposition. Fed. R. Civ. P. 65(b). Defendants here willfully and without authorization use the

Asserted Brand Copyrights to promote, advertise, offer to sell, and sell competing, poor quality

goods through Defendants’ Online Stores. (Mangano Decl. ¶ 27.) Defendants are creating a false

association in the minds of consumers between their illegitimate knockoff websites and the

authorized, legitimate Asserted Brand retailers by deceiving consumers through, among

other things, the unauthorized display of the Asserted Brand Copyrights. (Id.) These

circumstances justify entry of a temporary restraining order t o immediately stop the

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Defendants from improperly benefiting from their unauthorized use of the Asserted Brand

Copyrights and preserve the status quo until a hearing can be held in this matter.

        Absent entry of a temporary restraining order without notice, Defendants can, and likely will,

modify registration data and content, change hosts, redirect traffic to other websites under their

control, and/or move any assets from U.S.-based bank accounts to offshore accounts. (Id. ¶ 28.)

Courts in this judicial district have recognized that civil actions against counterfeiters and knockoff

sellers present special challenges that justify entry of injunctive relief on an ex parte basis. See, e.g.,

Square One Entertainment Inc. v. The Partnerships and Unincorporated Associations Identified in

Schedule "A", Defendants., No. 20 C 5685, 2021 WL 1253450, at *1 (N.D. Ill. Apr. 5, 2021)

(Durkin, J.) (“[D]istrict courts often agree, that it is necessary to restrain the defendants’ assets

without notice in order to prevent them from removing their assets from the United States or

otherwise hiding them.”); Columbia Pictures Indus., Inc. v. Jasso, 927 F. Supp. 1075, 1077 (N.D.

Ill. 1996) (observing that “proceedings against those who deliberately traffic in infringing

merchandise are often useless if notice is given to the infringers”). As such, Plaintiff respectfully

requests that this Court issue the requested temporary restraining order on an ex parte basis.

        There can be no doubt that this Court has federal subject matter jurisdiction over this action.

Specifically, this Court has original subject matter jurisdiction over the Plaintiff’s copyright

infringement claim. See 17 U.S.C. § 101 et seq.; 28 U.S.C. § 1338(a)– (b); 28 U.S.C. § 1331.

This Court also has original subject matter jurisdiction over Plaintiff’s false designation of origin

claims pursuant to 15 U.S.C. § 1125. This Court has jurisdiction over Plaintiff’s state law unfair

deceptive trade practices claim pursuant to 28 U.S.C. § 1367(a) because the state law claims are

so related to the federal claims that they form part of the same case or controversy and derive from

a common nucleus of operative facts. Venue is additionally proper in this judicial district pursuant

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to 28 U.S.C. §§ 1391 and 1400.

       This Court Can Exercise Personal Jurisdiction Over Defendants.

       This Court can properly exercise personal jurisdiction over Defendants because

their unauthorized and infringing conduct directly targets consumers in the United States,

including in the State of Illinois, by directly offering for sale knockoff products using Plaintiff’s

Asserted Brand Copyrights through their illegitimately operated online stores. (Mangano Decl. ¶¶

12-13.) Specifically, Defendants are reaching out to do business with residents of the State of

Illinois by operating one or more commercial, interactive Internet stores through which these

residents can purchase knockoff products based upon the unauthorized use and display of the

Asserted Brand Copyrights. (Mangano Decl. ¶¶ 12-13.) Moreover, each Defendant has

targeted sales from Illinois residents by operating online stores that offer shipping to the United

States, including to the State of Illinois, has offered to sell, and on information and belief, has

sold and continues to sell their knockoff products to consumers within the United States,

including the within the State of Illinois. (Mangano Decl. ¶¶ 12-13; Compl. ¶¶ 3, 6, 14, 24–

25.) Without the benefit of an evidentiary hearing, Plaintiff bears only the burden of making a

prima facie case for personal jurisdiction, the company’s asserted facts should be accepted as

true, and any factual determinations should be resolved in its favor. See uBID, Inc. v. GoDaddy

Group, Inc. 623 F.3d 421, 423 (7th Cir. 2010); see also, Purdue Research Found. v. Sanofi-

Sythelabo, S.A., 338 F.3d 773, 782 (7th Cir. 2003) (“When determining whether a Plaintiff has

met his burden, jurisdictional allegations pleaded in the complaint are accepted as true unless

proved otherwise by defendants’ affidavits or exhibits.”).

       More specifically, the Northern District of Illinois regularly exercises personal

jurisdiction over websites using registered copyrights and/or trademarks without authorization

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in connection with the offering for sale and selling of knockoff and counterfeit merchandise to

Illinois residents over the Internet. See, e.g., Monster Energy Company v. Wensheng, 136

F.Supp.3d 897, 902-909 (N.D. Ill. 2015); Square One Entertainment, 2021 WL 1253450,

at *1; ZURU (Singapore) Pte., Ltd et al v The Individuals, Corporations, Limited Liability

Companies, Partnerships and Unincorporated Associations Identified on Schedule A Hereto, No.:

1-21-CV- 02180, Document # 14, (N.D. Ill. April 27, 2021) (granting orders requested herein in

a similar case involving plaintiff’s BUNCH O BALLOONS copyright protected works and

trademarks); Creative Impact Inc. et al v. The 475 Individuals, Corporations, Limited

Liability Companies, Partnerships, and Unincorporated Associations Identified on Schedule A

Hereto, No.:1:19-cv- 05907, Document # 17 (N.D. Ill. Sept. 10, 2019) (granting orders requested

herein in similar case involving plaintiff’s BUNCH O BALLOONS trademark); Creative Impact

Inc. et al v. The Individuals, Corporations, Limited Liability Companies, Partnerships, and

Unincorporated Associations Identified on Schedule A Hereto, No. 1:18-cv-07531, Document #: 16

(N.D. Ill. Nov. 20, 2018) (Durkin, J.) (same).

       As stated earlier, through at least Defendants’ Online Stores, each of the Defendants has

targeted sales from Illinois residents by offering shipping to the United States, including Illinois,

and, on information and belief, has sold or offered to sell their imitation products to residents of the

United States, including within the State of Illinois. (Mangano Decl. ¶¶ 12-13; Compl. ¶¶ 3, 6,

14, 24–25.) As such, each of the Defendants is committing tortious acts in the State of Illinois,

while engaging in interstate commerce, and has wrongfully caused Plaintiff substantial injury

in the State of Illinois. Specifically, as shown on the screenshot printouts showing the

unauthorized display of the Asserted Brand Copyrights in connection with the Defendants’ offers

to sell the knockoff Asserted Brand products, Plaintiff has confirmed that these inferior products

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are available to be shipped to Illinois residents and residents within this judicial district. (Mangano Decl.

¶ 14, Ex. 7.)

        Applicable Temporary Restraining Order and Preliminary Injunction Standards.

        District courts within this Circuit hold that the standards applicable to granting a

temporary restraining order and to granting a preliminary injunction are identical. See, e.g.,

USA-Halal Chamber of Com., Inc. v. Best Choice Meats, Inc., 402 F. Supp. 3d 427, 433 n.5 (N.D.

Ill. 2019) (citing cases). A party seeking to obtain a preliminary injunction must demonstrate: (1)

that its case has some likelihood of success on the merits; (2) that no adequate remedy at law

exists; and (3) that it will suffer irreparable harm if the injunction is not granted. See GEFT

Outdoors, LLC v. City of Westfield, 922 F.3d 357, 364 (7th Cir. 2019).

        If the Court is satisfied that these three conditions have been met, then it must consider the

harm that the nonmoving party will suffer if injunctive relief is granted by balancing such harm

against the irreparable harm the moving party will suffer if relief is denied. See Id. Finally, the

Court must consider the potential effect on the public interest (non-parties) in denying or granting

the injunction. See Id. The Court then weighs all of these factors, “sitting as would a chancellor in

equity,” when it decides whether to grant the injunction. See Ty, Inc. v. The Jones Group, Inc.,

237 F.3d 891, 895 (7th Cir. 2001) (quoting Abbott Labs. v. Mead Johnson & Co., 971 F.2d 6, 11

(7th Cir. 1992)). This process involves engaging in what has been deemed “the sliding scale

approach”—the more likely the plaintiff will succeed on the merits, the less the balance of harms

need favor the plaintiff’s position. Id. The sliding scale approach is not mathematical in nature,

rather “it is more properly characterized as subjective and intuitive, one which permits district

courts to weigh the competing considerations and mold appropriate relief.” Id. at 895-896. The

greater the movant’s likelihood of succeeding on the merits, the less the balancing of harms need

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be in his favor. See Eli Lilly & Co. v. Natural Answers, Inc., 233 F.3d 456, 461 (7th Cir. 2000).

Proper application of the foregoing standards to Plaintiff’s Ex Parte Motion justifies entry of

injunctive relief.

        Plaintiff Will Likely Succeed on the Merits.

        Plaintiff Will Likely Succeed on Its Copyright Infringement Claim.

        “To establish infringement, two elements must be proven: (1) ownership of a valid

copyright, and (2) copying of constituent elements of the work that are original.” Feist

Publications, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361, 111 S. Ct. 1282, 1296, 113 L. Ed. 2d

358 (1991); see also Peters v. West, 692 F.3d 629, 632 (7th Cir. 2012).

        Here, Plaintiff is likely to succeed on the merits of its copyright infringement claim. First,

Plaintiff owns all exclusive rights to the Asserted Brand Copyrights covered by, at least, the United

States federal copyright registrations listed in Exhibit 1 to the Complaint (Mangano Decl. ¶ 9,

Compl. Ex. 1). See 17 U.S.C. § 501(b) (stating legal or beneficial owner of an exclusive right under

a copyright is entitled to institute an action for any infringement); HyperQuest Inc. v. N’Site

Solutions, Inc., 632 F.3d 377, 383 (7th Cir. 2011) (noting § 501(b) provides that the holder of

an exclusive license to distribute a particular work can sue under the Copyright Act).

        Second, Plaintiff has shown that Defendants have made unauthorized copies of the

federally registered Asserted Brand Copyrights. Specifically, Defendants use, without authorization,

the Asserted Brand Copyrights to unknowingly attract and deceive consumers t o t h e i r online

stores to sell, and offer for sale, knockoff Asserted Brand products. (Mangano Decl. ¶ 16.) It is

beyond question that Defendants have directly copied the Asserted Brand Copyrights to promote

their inferior quality products on their online stores. This clearly constitutes the unauthorized

copying, reproduction, distribution, creation of a derivative work, and/or public display of the

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Asserted Brand Copyrights in violation of the exclusive rights granted under 17 U.S.C. § 101 et

seq. (Id. ¶ 14, Ex. 7.)

        As exemplary examples, Defendants deceive unknowing consumers by using the Asserted

Brand Copyrights without authorization on their online stores to attract customers as follows:


                  Examples of the Unauthorized Use of the Asserted Brand Copyrights

                                   on Defendants’ Online Stores




                                            Compared to

           Plaintiff’s Use of the Genuine Asserted Brand Copyrights on the Company Website




        In sum, Plaintiff stands an extremely high likelihood of success on its copyright

infringement claim. Plaintiff has demonstrated that it is the rightful owner of federally registrations

in and to the Asserted Brand Copyrights. It has also clearly demonstrated the Defendants’

unauthorized use and display of the Asserted Brand Copyrights in connection with their display,

sale, or offers for sale, of knockoff Asserted Brand products on their online stores. Accordingly,

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Plaintiff has satisfied the likelihood of success requirement for entry of the requested injunctive

relief.

          Because It Is Clear Defendants Have Copied the Asserted Brand Copyrights Without

Authorization. Plaintiff is Likely to Succeed on Its False Designation of Origin Claim.

          As demonstrated above, Plaintiff has established the Defendants have copied the Asserted

Brand Copyrights without authorization to display, sell, and offer for sale knockoff Asserted Brand

products on their online stores. This unquestionably establishes that Plaintiff has an extremely high

likelihood of success on its copyright infringement claim, which should independently satisfy the

Court’s analysis under the first prong for entitlement to injunctive relief. Should a further showing

be required, Plaintiff also has a high likelihood of success on the merits of its false designation of

origin claim.

          A plaintiff bringing a false designation of origin claim under 15 U.S.C. § 1125(a)(1)(A)

must show: “(1) that the defendant used a false designation of origin or false description or

representation in connection with goods or services; (2) that such goods or services entered

interstate commerce; and (3) that the plaintiff is a person who believes he is likely to be damaged

as a result of the misrepresentation.” Bluestar Mgmt. LLC v. The Annex Club, LLC, No. 09-4540,

2010 WL 2802213, *4 (N.D. Ill July 12, 2010) (internal quotations and citations omitted).

          Because Plaintiff has established a likelihood of success on the merits of its copyright

infringement claim, it is clearly demonstrated that Defendants have falsely designated the origin

or description of the products at issue in this case, thereby satisfying the first requirement necessary

for succeeding on its false designation of origin claim. Next, there can be no question that

Defendants’ goods have entered interstate commerce, which is exactly the reason why they have

engaged in the unauthorized use of the Asserted Brand Copyrights on their online stores – to sell

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their substandard, knockoff goods to United States residents and residents of the State of Illinois –

thereby satisfying the second requirement for Plaintiff succeeding on its false designation claim.

(Mangano Decl. ¶¶ 12-13; Compl. ¶¶ 3, 6, 14, 24–25.) Finally, there can also be no question that

Plaintiff would be harmed by the unauthorized use of the Asserted Brand Copyrights, thereby

satisfying the third and final requirement for success on the company’s false designation of origin

claim. (Id. ¶¶ 23-27.) In sum, Plaintiff has demonstrated a high likelihood of success on the merits

of its false designation of origin claim. Accordingly, this claim for relief further establishes that

Plaintiff has independently satisfied the likelihood of success on the merits through its false

designation of origin claim necessary to justify entry of the injunctive relief requested.

         Plaintiff is Likely to Succeed on Its Illinois Uniform Deceptive Trade Practices Act

Claim.

         Plaintiff has demonstrated, above, that it stands a high likelihood of success on the merits

of its copyright infringement and false designation of origin claims for relief, which independently

or together, satisfy the first analysis prong for entry of the injunctive relief requested. Despite the

considerable merit of these previously discussed claims, Plaintiff also has a high likelihood of

success on the merits of its Illinois deceptive trade practices claim.

         In Illinois, courts resolve unfair competition and deceptive trade practices claims,

“according to the principles set forth under the Lanham Act.” Spex, Inc. v. Joy of Spex, Inc., 847

F. Supp. 567, 579 (N.D. Ill. 1994). Illinois courts look to federal case law and apply the same

analysis to state infringement claims. Id. (citation omitted). The determination as to whether there

is a likelihood of confusion is similar under both the Lanham Act and the Illinois Uniform

Deceptive Trade Practices Act. See Ent. One UK Ltd. v. 2012Shiliang, 384 F. Supp. 3d 941, 952

(N.D. Ill. 2019).

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       As previously demonstrated, Plaintiff has established a likelihood of success on the merits

of its copyright infringement and false designation of origin claims against Defendants. These

standards are equally applicable under Illinois law. Accordingly, Plaintiff has established a high

likelihood of success on the merits of its Illinois Uniform Deceptive Trade Practices Act claim.

Accordingly, this claim, alone, satisfies the first analysis prong required to justify issuance of the

requested injunctive relief.

       There Is No Adequate Remedy at Law, and Plaintiff Will Suffer Irreparable Harm

Without Issuance of Injunctive Relief.

       Plaintiff will unquestionably suffer irreparable harm unless this Court issues the requested

injunctive relief. Defendants are unquestionably using Plaintiff’s federally protected copyrights to

promote, display, sell, and offer for sale their own inferior, knockoff products – deceiving

unknowing customers in the process and harming the company’s established goodwill in the

process. (Mangano Decl. ¶¶ 23-27.)

       While loss of goodwill is “more commonly associated with trademark cases, [ ] it is

applicable to copyright as well.” Ty, Inc. v. GMA Accessories, Inc., 132 F.3d 1167, 1173 (7th Cir.

1997). Thus, damage to a copyright holder’s goodwill “is unquantifiable and therefore irreparable.”

Spinmaster, Ltd. v. Overbreak LLC, 404 F.Supp.2d 1097, 1111 (N.D. Ill. 2005); see also USA-

Halal Chamber of Com., Inc. v. Best Choice Meats, Inc., 402 F. Supp. 3d 427, 437 (N.D. Ill. 2019)

(quoting Re/Max N. Cent., Inc. v. Cook, 272 F.3d 424, 432 (7th Cir. 2001) (“The Seventh Circuit has

‘repeatedly held that damage to a trademark holder's goodwill can constitute irreparable injury

for which the trademark owner has no adequate legal remedy.’”)); 17 U.S.C. §§ 502, 503 (providing

for injunctive relief for copyright infringement; enjoining any use or exploitation by defendants of

their infringing work and that any of defendants’ infringing products be impounded and

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destroyed). A plaintiff with a copyright infringement claim “has the right to protect their

reputation as well as their sales from infringers.” Spinmaster, 404 F.Supp.2d at 1111.

       Irreparable injury “almost inevitably follows” when there is a high probability of confusion

because such injury “may not be fully compensable in damages.” Helene Curtis Industries, Inc. v.

Church & Dwight Co., Inc., 560 F.2d 1325, 1332 (7th Cir. 1977) (citation omitted). “The Seventh

Circuit and other courts have held that ‘the most corrosive irreparable harm’ attributable to

copyright infringement is the victim’s inability to control the nature and quality of the infringer’s

goods.” Jefferson v. Johnson Publishing, Inc., 1992 WL 318615, *2 (N.D. Ill. Oct. 28, 1992)

(citing cases). As such, monetary damages are likely to be inadequate compensation for such

harm. Ideal Indus., Inc. v. Gardner Bender, Inc., 612 F.2d 1018, 1026 (7th Cir. 1979).

       Defendants’ unauthorized use of the Asserted Brand Copyrights has, and continues to,

irreparably harm Plaintiff through diminished goodwill and brand confidence, damage to

the Asserted Brand’s reputation, loss of exclusivity, and loss of future sales. (Mangano Decl. ¶¶

23-27.) The extent of harm to the Asserted Brand’s reputation and goodwill, and the possible

diversion of customers due to loss in brand confidence, are both irreparable and incalculable, thus

warranting an immediate halt to Defendants’ infringing activities through issuance of

immediate injunctive relief. See Promatek Industries, Ltd. v. Equitrac Corp., 300 F.3d 808,

813 (7th Cir. 2002) (finding that damage to plaintiff’s goodwill was irreparable harm for which

plaintiff had no adequate remedy at law); Gateway Eastern Railway Co. v. Terminal Railroad

Assoc. of St. Louis, 35 F.3d 1134, 1140 (7th Cir. 1994) (“[S]howing injury to goodwill can

constitute irreparable harm that is not compensable by an award of money damages.”). Plaintiff

will suffer immediate and irreparable injury, that does not provide it with an adequate remedy

at law if immediate, and ex parte, injunctive relief is not issued under Rule 65(b). (Mangano Decl.

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¶¶ 23-27.) As such, Plaintiff has satisfied the irreparable harm requirement necessary for issuance

of the injunctive relief requested.

        The Balancing of Equities Tips in Plaintiff’s Favor.

        As noted above, Plaintiff has demonstrated that it has (1) a high likelihood of success on

the merits of each of its asserted claims for relief in this action, (2) it has no adequate remedy at

law, and (3) the threat of irreparable harm if injunctive relief is not granted. As such, the Court

must then consider the harm that Defendants will suffer if injunctive relief is granted, balancing

such harm against the irreparable harm the company will suffer if relief is denied. See Ty, Inc.,

237 F.3d at 895. This final analysis prong further supports Plaintiff’s request for issuance of

injunctive relief.

        Courts in this judicial district have recognized that willful infringers are not entitled to

equitable considerations when analyzing their conduct. Bulgari, S.p.A. v. Partnerships &

Unincorporated Associations Identified On Schedule "A,", 2014 WL 3749132, at *6 (N.D. Ill.

July 18, 2014). Where the evidence shows that a defendant “has knowingly engaged in

infringing activities as a regular feature of its business,” the effect of an injunction on a

defendant’s business is given little equitable consideration. ISC-Bunker Ramo Corp. v. Altech,

Inc., 765 F.Supp. 1310, 1332 (N.D. Ill. 1990); Horn Abbot Ltd. v. Sarsaparilla Ltd., 601 F.Supp.

360 (N.D. Ill. 1984) (to consider a “blatant” copyright infringer’s argument “that an injunction

will put them out of business, is to pervert the meaning of the balance of hardships test”). As

Plaintiff has demonstrated, Defendants have been profiting from the willful and unauthorized

use of the Asserted Brand Copyrights. (Mangano Decl. ¶¶ 12-13, 23-27.) Thus, the balance of

equities tips decisively in Plaintiff’s favor. As such, equity requires that Defendants be ordered to

cease their unlawful conduct through issuance of the injunctive relief requested by Plaintiff.

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       Issuance of the Injunction is in the Public Interest.

       An injunction in these circumstances is in the public interest because it will prevent

consumer confusion and stop Defendants from violating federal copyright law. The public

is currently under the false impression that Defendants are operating their online stores with

Plaintiff’s approval and endorsement and/or as authentic retailers of Asserted Brand products. An

injunction serves the public interest in this case because “it will preserve the integrity of the

copyright laws, which embody an important national policy of encouraging creativity.” ISC-

Bunker Ramo Corp., 765 F.Supp. at 1332. Likewise, “the public plainly has an interest in

preventing people from copying for commercial use the entire contents of a copyrighted

work.” Horn Abbot, 601 F.Supp. at 369; Jefferson v. Johnson Pub., Inc., 1992 WL 318615, *2

(N.D. Ill. Oct. 28, 1992) (“The public interest would certainly be disserved if defendants were

permitted to continue to knowingly infringe plaintiff’s [copy]rights.”).

       In this case, the injury to the public is significant, and the injunctive relief that Plaintiff

seeks is specifically intended to remedy that injury by dispelling the public confusion created by

Defendants’ blatant copying and use of the Asserted Brand Copyrights. The public has the right

not to be confused and defrauded as to the source of the goods and services offered by Defendants,

or as to the identity of the owner of copyrights used in connection with those goods and services.

Unless Defendants’ unauthorized use of Asserted Brand Copyrights is enjoined, the public

will continue to be confused and misled by Defendants’ conduct. (Mangano Decl. ¶¶ 23-27.)

Accordingly, issuance of Plaintiff’s requested injunctive relief is in the public interest.

                     THE EQUITABLE RELIEF SOUGHT IS APPROPRIATE

       In addition to this Court’s inherent authority to issue injunctive relief, the Copyright Act

specifically authorizes courts to “grant temporary and final injunctions on such terms as it may

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deem reasonable to prevent or restrain infringement of a copyright”. See 17 U.S.C. § 502. It also

provides that any of Defendants’ infringing products be impounded and destroyed. See 17 U.S.C.

§ 503.

         Furthermore, Rule 65(b) provides that a court may issue a temporary restraining order

without notice where facts show that the movant will suffer immediate and irreparable injury,

loss, or damage before the adverse party can be heard in opposition. Moreover, under Federal

Rule of Civil Procedure 65(d)(2)(C), this Court has the power to bind any third parties, such as

domain name registries and financial institutions, who are in active concert with Defendants or

who aid and abet Defendants and are given actual notice of the order. Fed. R. Civ. P. 65. The facts

in this case warrant such relief.

         Temporary Restraining Order Immediately Enjoining Defendants’ Unlawful Use of

Plaintiff’s Intellectual Property Is Appropriate

         Plaintiff requests a temporary injunction requiring Defendants to immediately cease all use

of the Asserted Brand Copyrights on or in connection with Defendants’ Online Stores. Such relief

is necessary to stop the ongoing harm to the goodwill and reputation of the Asserted Brand, as

well as harm to consumers, and to prevent Defendants from continuing to benefit from their

unauthorized use of Asserted Brand Copyrights. (Mangano Decl. ¶¶ 23-27.)

         The need for ex parte relief is magnified in today’s global economy where counterfeiters

and knockoff sellers can operate over the Internet in an anonymous fashion. Plaintiff is currently

unaware of both the true identities and locations of the Defendants, as well as other Defendant

Internet stores used to display the Asserted Brand Copyrights, without authorization, to sell, and

offer for sale, their knockoff Asserted Brand products.

         Courts in this district have authorized immediate injunctive relief in similar cases involving

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the unauthorized use of copyrights and counterfeiting or knockoff sales. See, e.g., ZURU

(Singapore) Pte., Ltd et al v The Individuals, Corporations, Limited Liability Companies,

Partnerships and Unincorporated Associations Identified on Schedule A Hereto, No.: 1-21-CV-

02180, Document # 14, (N.D. Ill. April 27, 2021) (granting orders requested herein in a similar

case involving plaintiff’s BUNCH O BALLOONS copyright protected works and trademark);

Creative Impact Inc. et al v. The 475 Individuals, Corporations, Limited Liability Companies,

Partnerships, and Unincorporated Associations Identified on Schedule A Hereto, No.:1:19-cv-

05907, Document # 17 (N.D. Ill. Sept. 10, 2019) (granting orders requested herein in a similar

case involving plaintiff’s BUNCH O BALLOONS trademark). Accordingly, Plaintiff’s request

for immediate injunctive relief to stop the unauthorized use of the Asserted Brand Copyrights on

Defendants’ Online Stores is warranted and appropriate.

       Preventing the Fraudulent Transfer of Assets Is Necessary.

       Plaintiff requests an ex parte restraint of Defendants’ assets so that the company’s right

to an equitable accounting of Defendants’ profits from sales of knockoff Asserted Brand products

through the unauthorized display of its Asserted Brand Copyrights is preserved. Issuing an ex parte

restraint will ensure Defendants’ compliance. If such a restraint is not granted in this case,

Defendants may disregard their responsibilities and fraudulently transfer financial assets to

overseas accounts before a restraint is ordered. (Mangano Decl. ¶¶ 27-32.) Specifically, it appears

that the Defendants in this case hold most of their assets in the Republic of China or Hong Kong,

making it easy to hide or dispose of assets, which will render an accounting by Plaintiff

meaningless. (Id. ¶ 31.)

       Courts have the inherent authority to issue a prejudgment asset restraint when a plaintiff’s

complaint seeks relief in equity. Animale Grp. Inc. v. Sunny’s Perfume Inc., 256 F. App’x 707, 709

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(5th Cir. 2007); Levi Strauss & Co. v. Sunrise Int’l Trading Inc., 51 F.3d 982, 987 (11th Cir. 1995);

Reebok Int'l Ltd. v. Marnatech Enters., Inc., 970 F.2d 552, 559 (9th Cir. 1992). In addition,

Plaintiff has shown a strong likelihood of succeeding on the merits of their copyright

infringement claim, and under 17 U.S.C. § 504(b), the company is “entitled to recover the actual

damages suffered…as a result of the infringement, and any profits of the infringer that are

attributable to the infringement and are not taken into account in computing the actual damages.”

See 17 U.S.C. § 504(b).

       Plaintiff’s Complaint seeks, among other relief, that Defendants account for and pay all

profits realized by their unlawful acts. (Compl. at ¶ ¶ 46 – 48.) Such a request for relief supports

Plaintiff’s demand that any fraudulent asset transfers by Defendants be enjoined. See Microsoft

Corp. v. 9038-3746 Quebec, Inc., 2007 WL 3232465, *1 (N.D. Ohio, Nov. 1, 2007) (granting

temporary restraining order freezing certain business assets “pursuant to Federal Rule of Civil

Procedure 65, the Court’s general equitable power, and the Court’s statutory authority to order

disgorgement of profits pursuant to…17 U.S.C. §504(b)”). Therefore, this Court has the inherent

equitable authority to grant Plaintiff’s request for a prejudgment asset freeze to preserve its

requested relief sought in this action.

       Moreover, Plaintiff has shown a high likelihood of success on the merits of each of its

asserted claims, that it has, and will continue to suffer, immediate irreparable harm because of

Defendants’ willfully improper activities, and that, unless Defendants’ assets are frozen,

Defendants will likely hide or move their ill-gotten funds to offshore bank accounts.

(Mangano Decl. ¶¶ 20, 26-29.) Accordingly, the granting of an injunction preventing the

transfer of Defendants’ assets is warranted.



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       Plaintiff Is Entitled to Expedited Discovery.

       The Supreme Court has held that “federal courts have the power to order, at their

discretion, the discovery of facts necessary to ascertain their competency to entertain the merits.”

Vance v. Rumsfeld, No. 1:06-cv-06964, 2007 WL 4557812, *6 (N.D. Ill. Dec. 21, 2007) (citing

Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351, 98 S. Ct. 2380 (1978)). A district court

has wide latitude in determining whether to grant a party’s request for discovery. Hay v. Indiana

State Bd. of Tax Comm’rs, 312 F.3d 876, 882 (7th Cir. 2002). Furthermore, courts have broad

power over discovery and may permit discovery in order to aid in the identification of unknown

defendants. See Fed. R. Civ. P. 26(b)(2); Rodriguez v. Plymouth Ambulance Serv., 577 F.3d 816,

832 (7th Cir. 2009).

       As described above, Defendants have registered stores on their online stores, which helps

to increase their anonymity by interposing a third party between the consumer and them. Without

being able to discover Defendants’ bank and payment system accounts, any asset restraint would

be of limited value because Plaintiff would not know the entities upon whom to serve the order.

(Mangano Decl. ¶ 29.) As such, Plaintiff respectfully requests expedited discovery to discover

bank and payment-system accounts used by Defendants in furtherance of their copyright infringing

aided Asserted knockoff sales operations. (Id.) In this regard, Plaintiff’s expedited discovery

requested in its Proposed Temporary Restraining Order has been limited to include that which is

only necessary to prevent further irreparable harm. (Id.) This includes discovery of financial

accounts necessary to freeze them so that the unauthorized and infringing activities will be

contained. (Id.)

       This Court has the power to bind any third party who is in active concert with the

Defendants that is given notice of the order to provide expedited discovery in this action. See Fed.

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R. Civ. P. 65(d)(2)(C). As Defendants have engaged in many deceptive practices in hiding their

identities and accounts, Plaintiff’s seizure and asset restraint in the Proposed Temporary

Restraining Order may have little meaningful effect without also being able to serve necessary

discovery, through Federal Rule of Civil Procedure 45 or otherwise, on third parties potentially

associated or acting in concert with the Defendants. (Mangano Decl. ¶ 30.) As such, Plaintiff

requests that it additionally be permitted to engage in third party discovery to the extent necessary

to effectuate the narrow scope of inquiry identified above. (Mangano Decl. ¶ 30.) Accordingly,

Plaintiff respectfully requests that its request to conduct expedited discovery be granted on

Defendants and any third parties believed to be associated with or acting in concert with

Defendants.

       Service of Process by E-mail and/or Electronic Publication Is Warranted in this Case.

       Pursuant to Federal Rule of Civil Procedure 4(f)(3), Plaintiff requests this Court

authorize service of process by electronically publishing a link to the Complaint, the issued TRO,

and other relevant documents on a website to which Defendants will be directed and/or by

sending an e-mail to any contact addresses associated with Defendants as provided by third party

platforms and/or Internet service providers that includes a link to said website. Plaintiff submits

that providing notice via electronic publication and/or e-mail, along with any notice that

Defendants receive from their online platform and their payment processors, is reasonably

calculated under all circumstances, to apprise them of the pendency of the action and afford an

opportunity to present their objections.

       Electronic service is appropriate and necessary in this case because Defendants: (1)

have provided false names and physical address information in their registrations for Defendants’

Online Stores in order to conceal their locations and avoid liability for their unlawful conduct; and

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(2) they rely primarily on electronic communications to communicate with their registrars

and customers, demonstrating the reliability of this method of communication by which

Defendants may be apprised of the pendency of this action. Authorizing service of process

solely via e-mail and/or electronic publication will benefit all parties and the Court by ensuring

that Defendants receive prompt notice of this action, thus allowing this action to move forward

expeditiously. Absent the ability to serve Defendants in this manner, Plaintiff will almost certainly

be left without the ability to prosecute this action in an expeditious and necessary manner or to pursue

this matter to a complete final judgment.

       According to Section 4.1 of the Registrar Accreditation Agreement established by the

Internet Corporation for Assigned Names and Numbers (“ICANN”), an individual or entity that

registers a domain name is required to “provide to ICANN and publish on its website its accurate

contact details including a valid email and mailing address.” (Mangano Decl. ¶ 6, Ex. 4.) Contrary

to applicable ICANN regulations, it is common practice for counterfeiters and knockoff sellers to

register their domain names with incomplete information, randomly typed letters, or omitted cities

or states, to avoid full liability. (Id. ¶ 17.) And indeed, many of Defendants’ names and physical

addresses used to register Defendants’ Online Stores are incomplete, contain randomly typed

letters, fail to include cities or states, and/or use privacy services that conceal this information.

(Id.) Similarities between Defendants also suggest that many of the aliases used to register

Defendants’ Online Stores are used by the same individual or entity. (Id. ¶ 18.) Despite providing

false physical addresses, the registrants of Internet stores such as Defendants’ Online Stores, must

generally provide an accurate e-mail address so that their registrars may communicate with them

regarding issues related to the purchase, transfer, and maintenance of the various accounts.

Likewise, online marketplace account operators accepting PayPal, for example, must provide a

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valid e-mail address to customers for completing payment. Moreover, it is necessary for merchants,

such as the registrants of Defendants’ Online Stores, who operate entirely online, to visit their

stores to ensure it is functioning and to communicate with customers electronically. As such,

it is far more likely that Defendants can be served electronically than through traditional service

of process methods.

       Federal Rule of Civil Procedure 4(f)(3) (“Rule 4(f)(3)” and “Rule 4” generally) allows this

Court to authorize service of process by any means not prohibited by international agreement as

the Court directs. Fed. R. Civ. P. 4(f)(3); see also Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d

1007, 1014 (9th Cir. 2002). The Ninth Circuit in Rio Properties held, “without hesitation,” that

e-mail service of an online business defendant “was constitutionally acceptable.” Id. at 1017.

The Court reached this conclusion, in part, because the defendant conducted its business over

the Internet, used e-mail regularly in its business, and encouraged parties to contact it via e-

mail. Id.

       Similarly, several courts, including courts in this District, have held that alternative forms of

service pursuant to Rule 4(f)(3), including e-mail service, are appropriate and may be the only means

of effecting service of process “when faced with an international e-business scofflaw.” Id. at 1018;

see e.g., Fairly Odd Treasures, LLC v. Partnerships & Unincorporated Associations Identified on

Schedule “A”, 2020 WL 8093511, at *1 (N.D. Ill. Oct. 28, 2020) (“‘Service of process by e-mail

has been upheld in circumstances similar to those here.’”) (quoting Strabala v. Zhang, 318 F.R.D.

81, 115 (N.D. Ill. 2016)); MacLean-Fogg Co. v. Ningbo Fastlink Equip. Co., Ltd., No. 1:08-cv-

02593, 2008 WL 5100414, *2 (N.D. Ill. Dec. 1, 2008) (holding e-mail and facsimile service

appropriate); Popular Enters., LLC v. Webcom Media Group, Inc., 225 F.R.D. 560, 563 (E.D.

Tenn. 2004) (quoting Rio, 284 F.3d at 1018) (allowing e-mail service); see also Juniper Networks,

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Inc. v. Bahattab, No. 1:07-cv-01771-PLF-AK, 2008 WL 250584, *1-2, (D.D.C. Jan. 30,

2008)(citing Rio, 284 F.3d at 1017-1018; other citations omitted) (holding that “in certain

circumstances... service of process via electronic mail ... is appropriate and may be authorized by

the Court under Rule 4(f)(3) of the Federal Rules of Civil Procedure”).

       Plaintiff submits that allowing service solely by e-mail and/or electronic publication in the

present case is appropriate and comports with the Constitutional requirements of due process,

particularly given the decision by the registrants of Defendants ’ Online Stores to conduct their

Internet- based activities anonymously.

       Furthermore, Rule 4 does not require that a party attempt service of process by other

methods enumerated in Rule 4(f) before petitioning the court for alternative relief under Rule

4(f)(3). Rio Props. v. Rio Intern. Interlink, 284 F.3d at 1014-15. As the Rio Properties court

explained, Rule 4(f) does not create a hierarchy of preferred methods of service of process. Id. at

1014. To the contrary, the plain language of the Rule 4 requires only that service be directed by

the court and not be prohibited by international agreement. Id. There are no other limitations

or requirements. Id. Alternative service under Rule 4(f)(3) is neither a “last resort” nor

“extraordinary relief,” but is rather one means among several by which an international defendant

may be served. Id. As such, this Court may allow Plaintiff to serve Defendants via electronic

publication and/or e-mail.

       Additionally, Plaintiff is unable to determine the exact physical whereabouts or identities

of the registrants of Defendants’ Online Stores due to their provision of false and incomplete

names and/or street addresses. (Mangano Decl. ¶ 18.) Plaintiff, however, has good cause to suspect

the registrants of the respective Online Stores are mainly residents of the People’s Republic of

China or Hong Kong. The United States and the People’s Republic of China are both signatories

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to the Hague Convention on the Service Abroad of Judicial and Extra Judicial Documents in Civil

and Commercial Matters (the “Hague Convention”). (Mangano Decl. ¶ 7, Ex. 5.) The Hague

Convention does not preclude service by e-mail, and the declarations to the Hague Convention

filed by China do not appear to expressly prohibit e-mail service. ( Id.); see also Hangzhou

Chic Intelligent Technology Co. v. The Partnerships and Unincorporated Associations

Identified on Schedule A, Defendants., 2021 WL 1222783, at *3 (N.D. Ill. Apr. 1, 2021) (“For

these reasons, the Court finds it is inappropriate to interpret China’s objections to postal service

under the Hague Convention as encompassing service by email.”). Additionally, according to

Article 1 of The Hague Convention, the “convention shall not apply where the address of the

person to be served with the document is not known.” (Mangano Decl. ¶ 7, Ex. 5.)

       As such, federal courts, including courts in this judicial district, routinely permit

alternative service of process notwithstanding the applicability of the Hague Convention. See

Hangzhou Chic, 2021 WL 1222783, at *4 (“[T]he Court finds that China has not ‘objected’ to

email service, and the Court’s order of email service pursuant to Rule 4(f)(3) was appropriate.”);

see also In re LDK Solar Secs. Litig., 2008 WL 2415186,*2 (N.D. Cal. Jun. 12, 2008) (authorizing

alternative means of service on Chinese defendants without first attempting “potentially fruitless”

service through the Hague Convention’s Chinese Central Authority); Nanya Tech. Corp. v.

Fujitsu Ltd., No. 1:06-cv-00025, 2007 WL 269087, *6 (D. Guam Jan. 26, 2007) (Hague

Convention, to which Japan is a signatory, did not prohibit e-mail service upon Japanese

defendant); Popular Enters., LLC v. Webcom Media Group, Inc., supra, 225 F.R.D. at 562

(recognizing that, while “communication via e-mail and over the Internet is comparatively new,

such communication has been zealously embraced within the business community”).

       In addition, the law of the People’s Republic of China does not appear to prohibit electronic

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service of process. (Mangano Decl. ¶ 8, Ex. 6.) The proposed Temporary Restraining Order

provides for issuance of a single original summons1 in the name of “THE INDIVIDUALS,

CORPORATIONS,             LIMITED       LIABILITY        COMPANIES,          PARTNERSHIPS,          AND

UNINCORPORATED ASSOCIATIONS IDENTIFIED ON SCHEDULE A HERETO” that shall

apply to all Defendants in accordance with Federal Rule of Civil Procedure 4(b). Accordingly,

Plaintiff respectfully requests permission to serve Defendants via e-mail and/or electronic

publication.

        A MINIMAL BOND SHOULD BE REQUIRED TO SECURE THE REQUESTED

INJUNCTIVE RELIEF

        The posting of security upon issuance of a temporary restraining order or preliminary

injunction is vested in the Court’s sound discretion. Rathmann Grp. v. Tanenbaum, 889 F.2d 787,

789 (8th Cir. 1989); Hoechst Diafoil Co. v. Nan Ya Plastics Corp., 174 F.3d 411, 421 (4th Cir.

1999); Fed. R. Civ. P. 65(c). Because of the strong and unequivocal evidence supporting its claims

for copyright infringement, false designation, and unfair competition, Plaintiff respectfully

requests that this Court require the company post a bond of no more than Five Thousand Dollars

and Zero Cents in United States currency ($5,000.00 USD) as security in this action. Similar bonds

have been authorized in actions commenced in this judicial district to guard against the improper

issuance of injunctive relief where a high likelihood of success on the merits has been




        1
            The Advisory Committee Notes to the 1993 Amendment to Rule 4(b) states, “If there are

multiple defendants, the Plaintiffs may secure issuance of a summons for each defendant, or may serve

copies of a single original bearing the names of multiple defendants if the addressee of the summons is

effectively identified.” Fed. R. Civ. P. 4(b) advisory committee notes (1993).

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demonstrated. See, e.g., Zuru (Singapore) Pte., Ltd., et. al. v. The Individuals, Corporations,

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Schedule A Hereto, No. 1:21-cv-02151, Document #: 14 (N.D. Ill. May 5, 2021) (Leinenweber, J.)

($5,000.00 bond). Accordingly, Plaintiff submits that the same amount of security is appropriate

in this action.

                                         CONCLUSION

        Plaintiff’s business, which prominently includes their Asserted Brand, and consumers, as

well as all prospective customers, are being irreparably harmed through Defendants’ unauthorized

use of the Asserted Brand Copyrights. Without entry of the requested injunctive relief, Defendants

will continue to infringe upon the Asserted Brand Copyrights by leading prospective purchasers

and others to their unauthorized websites while making them believe that the products displayed

therein are genuine Asserted Brand products – and not the substandard knockoffs eventually

delivered by them. As such, issuance of immediate, ex parte, temporary injunctive relief, and

subsequent preliminary injunctive relief, is necessary to protect Plaintiff’s rights in and to its

Asserted Brand Copyrights, to prevent further harm to the company and the consuming public, and

to preserve the status quo. Accordingly, as argued herein and consistent with previous similar cases

from this judicial district, Plaintiff respectfully requests entry of a Temporary Restraining Order

in the form submitted herewith and that a hearing be set on an expedited basis on Plaintiff’s

request for entry of a preliminary injunction based on this submission, together with any additional

briefing authorized by the Court.

        In addition to the foregoing, Plaintiff requests the Court grant its request to conduct

expedited discovery in this matter on Defendants and any party believed to be acting in concert

with or associated with Defendants. Furthermore, Plaintiff requests the Court authorize service of

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process on Defendants through e-mail and/or electronic publication. Finally, Plaintiff asks the

Court to require a bond in the amount of Five Thousand Dollars and Zero Cents USD ($5,000.00

USD) as security for its requested injunctive relief.

DATED: June 28, 2024                            Respectfully submitted,

                                                By: /s/ Shawn A. Mangano
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